                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


 JOSHUA JARRETT, ET AL.,                          )
                                                  )
        Plaintiffs,                               )
                                                  )
 v.                                               )    NO. 3:21-cv-00419
                                                  )
 UNITED STATES OF AMERICA,                        )    JUDGE CAMPBELL
                                                  )    MAGISTRATE JUDGE
        Defendant,                                )    NEWBERN



                                             ORDER

       This case is set for a bench trial on Tuesday, March 7, 2023, beginning at 9:00 a.m. at the

Fred D. Thompson U.S. Courthouse and Federal Building in Nashville, Tennessee. Counsel for

the parties shall appear for a Pretrial Conference on Monday, February 27, 2023, at 10:00 a.m. All

lawyers who will participate in the trial must attend the Pretrial Conference.

                               Information Exchanged but not Filed

       By February 13, 2023, the parties shall exchange copies of exhibits and make available for

examination by any opposing party the original of all exhibits. The authenticity of exhibits should

be stipulated to if at all possible. By the same date, the parties shall exchange designations of

portions of depositions that are to be read into evidence during the trial, in accordance with the

procedure set forth in Local Rule of Court 39.01(c)(4). The parties should attempt to agree on

additions to the designations necessary to put responses into context.

                                     Pretrial Filing Deadlines

       Counsel shall file a Joint Proposed Pretrial Order with the Court by February 20, 2023.

The Pretrial Order shall contain: (1) a recitation that the pleadings are amended to conform to the



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Pretrial Order and that the Pretrial Order supplants the pleadings; (2) a statement of the basis for

jurisdiction in this Court; (3) a short summary of the Plaintiff's theory (no more than one page);

(4) a short summary of the Defendant's theory (no more than one page); (5) a statement of the

issues; (6) a succinct statement of the relief sought; (7) a summary of any anticipated evidentiary

disputes; and (8) an estimate of the anticipated length of the trial.

        The parties shall also file with the Court, by February 20, 2023, witness lists, except for

witnesses solely for impeachment in accordance with Fed. R. Civ. P. 26(a)(3); exhibit lists, except

for documents solely for impeachment in accordance with Fed. R. Civ. P. 26(a)(3); and any

stipulations.

                           Motions in Limine and Objections to Experts

        By February 13, 2023, the parties shall file any motions in limine and any motions

objecting to expert testimony. All such motions shall comply with Local Rule 7.01(a)(1). Any

responses to such motions shall be filed by February 20, 2023.

                                              Discovery

        Expert witness disclosures shall be made timely, in accordance with Local Rule

39.01(c)(5)(C). Supplemental responses to interrogatories, requests for production and requests

for admissions shall be made timely in accordance with Federal Rule of Civil Procedure 26(e) and

Local Rule 39.01(e). Objections to the use of depositions at trial shall be made timely in

accordance with Local Rule 39.01(c)(4). The Court may exclude evidence, or order other

sanctions, for violation of a duty or deadline to make or supplement expert witness disclosures or

discovery responses.




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                                        Pretrial Conference

       Counsel shall be prepared, at the Pretrial Conference, to:

       (1) identify and discuss undisputed facts and issues;

       (2) discuss the status of discovery;

       (3) preview proposed testimony;

       (4) discuss expert testimony;

       (5) preview proposed exhibits;

       (6) discuss motions in limine;

       (7) discuss settlement; and

       (8) discuss proposed findings of fact and conclusions of law and pretrial briefs.

       All pretrial requirements and deadlines set forth in the Local Rules of Court remain in

effect unless specifically addressed above.

       It is so ORDERED.


                                              ____________________________________
                                              WILLIAM L. CAMPBELL, JR.
                                              UNITED STATES DISTRICT JUDGE




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